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UN|`l'ED STATES DlSTR|CT COURT
EASTERN DISTR|CT OF N|lCHlGAN

Speech First, lnc.

Plaintiff(s), Case No. 2:18-cv-1l451-LVP-EAS
v. Judge Linda V. Parker

Mark SChllSSGl, il'| hiS Ol'ilCal CapBClly 83 Pi€SidSnf Magisfrate Judge E|izabeth A_ Staffo['d
of the University of Nlichigan

Defendant(s).
/

STATEMENT OF D|SCLOSURE
OF CORPORATE AFFlL|AT|ONS AND FlNANC|AL lNTEREST

Pursuant to E. D. |Vlich. LR 83.4, P|almiff SDBGCh Fii$t. |nC-
makes the following disclosure: (NOTE.' A negative report, if appropriate is required.)

1. ls said corporate party a subsidiary or affiliate of a publicly owned corporation?

Yes m No m

lf the answer is es, list below the identity of the parent corporation or atli|iate and the relationship
between it and t e named party.

Parent Corporation/Affiliate Name:
Reiationship with Named Party:

2. |s there a publicly owned corporation or its afhliate, not a party to the case, that has a substantial financial
interest in the outcome of the |itigation?

Yes l:| No m

lf the answer is yes, list the identity of such corporation or afhliate and the nature of the financial interest.

Parent CorporationlAth|iate l\lame:
Nature of Financia| lnterest:

Date: May 8, 2013 fsi John A. Di Giacomo

 

P73056

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